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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   BEAUFORT DIVISION

Ted D. Ellis and Teresa Ellis,         )
                                       )
              Plaintiffs,              )
                                       )
       v.                              )           C/A No.: 9:19-cv-02163-RMG-MGB
                                       )
Cody Kirkman, Individually; Amber      )
Swinehammer, Individually; Lindsey     )
Gibson, Individually; Cody C. Kirkman, )
Amber Swinehammer, and Lindsey         )
Gibson, as agents/officers of Town of )
Bluffton Police Department; and Town )
Bluffton Police Department,            )
                                       )
              Defendants.              )
________________________________ )

                                   ______________________

                                      STATUS REPORT
                                   ______________________

            By the Court’s Order, (Docket Entry 74), monthly status updates are required. On

today’s date, the undersigned counsel confirmed by telephonic consultations with Assistant

United States Attorney out of Washington, DC, Kyle Boyton who confirmed that the FBI

agent handing the matter had recently retired and that a new agent was being assigned.

As such, he advises that no prosecutorial decision has been made and they await a final

decision on the direction of the investigation. Therefore, the reasons set forth in support of

the Order to Stay remain unchanged.




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                                     Respectfully submitted,

                                     LAW OFFICES OF CHRISTY L. SCOTT, LLC

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                                     ATTORNEY FOR DEFENDANTS
                                     Cody C. Kirkman, Individually and as an Officer
                                     of Town of Bluffton Police Department; Amber
                                     Swinehamer,           (mistakenly         spelled
                                     Swinehammer), Individually and as an Officer of
                                     Town of Bluffton Police Department; former
                                     Bluffton police officer Lindsey Gibson, sued
                                     individually and as a former police officer of the
                                     Bluffton Police Department and the Town of
                                     Bluffton Police Department

August 12, 2021

Walterboro, South Carolina




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